       Case 2:22-cv-00688-JMY Document 167-1 Filed 05/28/24 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN ENVIRONMENTAL                      :
ENTERPRISES, INC., d/b/a                    :
THESAFETYHOUSE.COM                          :
                                            :       CIVIL ACTION
                      Plaintiff,            :
                                            :       No. 2022-cv-00688 (JMY)
       v.                                   :

MANFRED STERNBERG, ESQUIRE, :
and MANFRED STERNBERG &        :
ASSOCIATES, PC, and CHARLTON   :
HOLDINGS GROUP, LLC, and       :
SAMUEL GROSS a/k/a SHLOMO      :
GROSS, and GARY WEISS,         :
and ASOLARDIAMOND, LLC a/k/a,  :
ASOLAR. LLC, and DAPHNA        :
ZEKARIA, ESQUIRE, and SOKOLSKI :
& ZEKARIA, P.C.                :
                               :
                 Defendants.   :

  ORDER GRANTING PLAINTIFF’S CROSS-MOTION FOR CONTEMPT AND FOR
   SANCTIONS AGAINST DEFENDANTS DAPHNA ZEKARIA, ESQUIRE, AND
SOKOLSKI & ZEKARIA, P.C. , AND AWARDING SANCTIONS, AND DENYING SAID
           DEFEFENDATS’ MOTION FOR PROTECTIVE RELIEF

       AND NOW, this _______ day of ________________2024, upon consideration of the Motion

for Protective Relief (the “Motion”) filed by Defendants Daphna Zekaria, Esquire and Sokolski &

Zekaria, P.C., (the “Zekaria Defendants”), and upon further consideration of plaintiff’s Response

in Opposition thereto and plaintiff’s Cross-Motion for Contempt and for Sanctions (the “Cross-

Motion”), filed by plaintiff American Environmental Enterprises, Inc., d/b/a THE

SAFEEYHOUSE.COM (“Plaintiff”), against the Zekaria Defendants, by reason of said

Defendants’ refusal and failure to comply with this Court’s Order dated April 1, 2024, compelling

discovery from them, and in violation of the Rules of Court governing discovery pursuant to Rules

33 and 34 and 37 of the Federal Rules of Civil Procedure, and upon further consideration of any
        Case 2:22-cv-00688-JMY Document 167-1 Filed 05/28/24 Page 2 of 3




response to the plaintiff’s Cross-Motion filed by the Zekaria Defendants, and this Court finding

that Defendants Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C., are in contempt of, and in

violation of, the Court’s 4/1/24 Order, because they have intentionally and willfully failed and

refused to comply with the Court’s 4/1/24 Order, without legal justification or excuse, and for

good cause shown therefor, it is ORDERED as follows:

       1.      The Motion of the Zekaria Defendants is DENIED.

       2.      The plaintiff’s Cross- Motion is GRANTED.

       3.      Defendants Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C., are found to be

in CONTEMPT OF COURT, because they have intentionally and willfully failed and refused to

comply with the Court’s 4/1/24 Order.

       4.      The Zekaria Defendants shall, within ten (10) days, provide full and complete

answers without objection to all of plaintiff’s Interrogatories addressed to them, addressing all of

the deficiencies in the Deficiency List (Exhibit “D” to plaintiff’s Cross-Motion.

       5.      The Zekaria Defendants shall, within ten (10) days, provide full and complete

written responses to each of the Document Requests, and to produce the February 2022

retainer/escrow agreement, and all of their unredacted escrow account records, and all of the other

documents responsive to plaintiff’s Document Requests addressed to them, including addressing

all of the deficiencies in the Deficiency List (Exhibit “D” to plaintiff’s Cross-Motion.

       6.      The Zekaria Defendants shall appear for their depositions on the date and time and

at the location selected by plaintiff, and they shall not refuse to answer any questions except upon

instruction of her counsel at that deposition.

       7.      Sanctions are entered in favor of plaintiff against the Zekaria Defendants for their

contempt of and willful failure to comply with the Court’s 4/1/24 Order and plaintiff’s discovery



                                                 2
        Case 2:22-cv-00688-JMY Document 167-1 Filed 05/28/24 Page 3 of 3




requests, in the amount of $2,500.00, which sanctions shall be paid in good U.S. funds to counsel

for plaintiff within ten (10) days from the date of this Order.

       8.      In the event that the Zekaria Defendants fail to strictly comply with this Order, then

upon further application by plaintiff, the Answer of the Zekaria Defendants [ECF 119] to plaintiff’s

Amended Complaint [ECF 80], shall be STRICKEN, and a DEFAULT JUDGMENT will

entered in favor of plaintiff, against Defendants Daphna Zekaria, Esquire and Sokolski & Zekaria,

P.C., individually, jointly and severally, in the amount of $1,965,600.00, which is the amount

sought by plaintiff in the Amended Complaint [ECF 80].

       9.      This Order is without prejudice to plaintiff’s right to seek an additional award of

punitive damages against the Zekaria Defendants at trial

                                                      BY THE COURT:



                                                      ______________________________
                                                      John M. Younge,      U.S.D.J.




                                                  3
